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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


TIMOTHY C. PIGFORD, et al.
     PLAINTIFFS

v.                                                         CIVIL ACTION NO. 97-1978 (PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT



CECIL BREWINGTON, et al.
     PLAINTIFFS

v.                                                         CIVIL ACTION NO. 98-1693 (PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT


          IN RE: THE TRACK B ARBITRATION OF JAMES STEPHENSON
                    CLAIM NO. 18759, ARBITRATION NO. 064


                MEMORANDUM OF CROSS & KEARNEY PLLC
      IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES AND EXPENSES

       Cross & Kearney PLLC submits this Memorandum in support of its Motion for

Attorneys’ Fees and Expenses incurred in its successful representation of James Stephenson. Mr.

Stephenson was the prevailing party in a Track B arbitration claim against the USDA in In Re:

The Arbitration of James Stephenson, Claim No. 18759, Arbitration No. 064.

       Cross Kearney’s Motion seeks fees and expenses for work performed on Mr.

Stephenson’s claim over a nearly 11 year period from February 1999 to its successful conclusion

by settlement in August 2010, plus work performed to the present on this petition for payment of
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fees and reimbursement of expenses. The firm has not received any fees or expenses for work

performed on Stephenson’s claim during that period of time.

          Fees and expenses are sought pursuant to the April 14, 1999 Consent Decree in this

matter, as addressed in this Court’s Opinion and Order issued on March 8, 2001, as well as the

Equal Credit Opportunity Act (“ECOA”), 15 U.S.C. § 1691 et seq., and the Equal Access to

Justice Act (“EAJA”), 28 U.S.C. § 2412.

          I.     FACTS1

          Mr. Stephenson resides in Dermott Arkansas. He was born in 1949. He has a college

diploma from the University of Arkansas at Pine Bluff, and he has additional college credits

from Notre Dame and the University of Illinois. He is a Vietnam veteran. He was brought up on

his grandfather’s farm in Chicot County, Arkansas, where he learned the basic fundamentals of

farming. He also learned the economics of raising produce, cotton, soybeans, hay and livestock.

He also worked on his father-in-law’s farm while in college.

          In the mid 1980s, he leased approximately 1,332 acres of farmland and began raising

rice, soybeans and milo. He had three tractors, three combines, two grain trucks, a pickup truck,

a drill, a planter, two disks, a fuel tank, a water tank, and a grain cart. He purchased all of these

with his own money.

          In 1986, Mr. Stephenson applied for an operating loan ($80,000) and a farm ownership

loan ($342,000) from the Farmers Home Administration (FmHA) County Office in Chicot

County. The County Supervisor refused to assist him. He leased an additional 475 acres in a

neighboring county, and applied for an operating loan with the FmHA County Office in that

county. The County Committee found that he was eligible for a loan. The loan was funded late,

and it was supervised, as a result of which his crop was planted late.


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    The facts recited herein are set forth in Mr. Kearney’s declaration. Exhibit A.

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       Mr. Stephenson also applied for a $158,000 farm ownership loan in August 1986. His

application was “favorably considered” by the County committee, but he did not receive the loan

in 1986.

       In February 1987, Mr. Stephenson applied for an operating loan. He was found eligible

for the loan, but he did not receive a loan. He appealed the loan denial to the National appeals

staff, but received no resolution until the appeal was suspended due to the Pigford litigation.

       Mr. Stephenson applied in December 1987 for a 1988 farm ownership loan to purchase

900 acres of farmland. The County Supervisor refused to consider the application. Mr.

Stephenson reduced the size of the requested loan from $342,000 to $205,000, and reduced the

purchase to 450 acres. He applied for a Farm Ownership Loan in the reduced amount. He also

applied for an operating loan of $82,000. He did not receive any of the loans.

       Mr. Stephenson sought two loans in January 1989, a $90,000 operating loan and an

$80,000 Farm Ownership Loan to purchase a 150 acre tract. The loans were denied by the Chicot

County Supervisor. At first, he was told the loans were denied because no funds were available,

but after he appealed to the district and state directors, he was told that he did not qualify for the

loans due to improper conduct.

       He then applied for a $90,000 Farm Ownership loan to purchase 90 acres of farmland.

Two months later, in January 1990, he applied for an operating loan of nearly $80,000. Both

loans were denied by the Chicot County Supervisor in June 1990 on the grounds that no funds

were available.

       In the arbitration proceedings, the County Supervisor admitted that the unavailability of

funds was not a valid basis to deny a loan. He believed that the loan applications were denied

due to Mr. Stephenson’s credit history. When Mr. Stephenson appealed the denial, the County

Committee took the position that he was not eligible for any loan because he would not carry out


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the terms and conditions of the loan and that he did not have sufficient experience in managing

and operating a farm. The Hearing Officer on the appeal found that Mr. Stephenson was not

eligible because he had given the FmHA misleading information.

       From 1992 through 1996, Mr. Stephenson filed annual loan applications for farm

ownership loans and operating loans. In 1992, he sought an operating loan of $284,060 and an

ownership loan of $283,000. In 1993, he sought an operating loan of $183,000 and an ownership

loan of $332,000. In 1994, he sought an operating loan of $70,000 and an ownership loan of

$332,000. In 1995, he sought an operating loan of $43,000 and an ownership loan of $232,000.

In 1996, he sought an operating loan of $45,000 and an ownership loan of $332,000. In some

years, his applications were accepted and then denied. In other years the County Supervisor

refused to accept his applications or to give him a formal decision. In some years, he was told he

did not qualify because his credit was unacceptable.

       II.     THE SUCCESSFUL ARBITRATION

       Jesse Kearney and Cross Kearney commenced representing James Stephenson in

February, 1999. Mr. Stephenson’s Track B arbitration was successfully concluded by agreement

dated August 17, 2010. Mr. Stephenson was awarded $142,500.

       Mr. Stephenson filed his Track B Claim Sheet and election Form on October 11, 1999.

He alleged that he is an African American farmer who farmed or attempted to farm between

January 1, 1981 and December 31, 1996, that he applied to participate in a federal farm program

with the United States Department of Agriculture during that period, and that he filed a

complaint of discrimination against USDA concerning the treatment he received in that

application process.

       The Arbitrator granted the USDA’s motion to dismiss in 2001. The basis for the

dismissal was that in 1991 Mr. Stephenson hurt his back and did not farm. His wife filed a Track


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A claim for that year, and the Arbitrator ruled that her claim for 1991 barred his claims for other

years for jointly-farmed land.

           The dismissal was appealed to the Monitor. The Monitor concluded in 2008 that the

dismissal was clear and manifest error. The Monitor further concluded that the error constituted a

fundamental miscarriage of justice within the meaning of the Consent Decree.

           The Monitor directed the Arbitrator to reexamine the claim.

           The parties prepared for arbitration. In June, 2010, shortly before the scheduled

arbitration hearing, the parties began settlement negotiations. Negotiations proceeded in tandem

with preparation for the arbitration. Mediation was held on August 2, 2010. The matter was

settled.

           The settlement agreement expressly left open the question of attorney’s fees and expenses

for further negotiations.

           The parties have been unable to resolve the question of fees and expenses.

           III.   JESSE KEARNEY

           The work in this matter was performed by Jesse Kearney and his office staff. The present

fee petition was prepared by David Fierst, a partner in Stein, Mitchell, Muse, Cipollone & Beato,

LLP.

           Jesse Kearney received his undergraduate degree in 1973 and his Juris Doctorate in 1976,

both from the University of Arkansas at Fayetteville. He was admitted to the Arkansas Bar in

1976, and has been a member in good standing since then. He is admitted to practice in all courts

in Arkansas, the U.S. District Court for the Eastern and Western Districts in Arkansas, the U.S.

8th Circuit Court of Appeals, and the U.S. Supreme Court. He is a member of the American Bar

Association, American Trial Lawyers Association, National Bar Association, Arkansas Bar




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Association, Arkansas Trial Lawyers Association, Jefferson County Arkansas Bar Association,

and the W. Harold Flowers Law Society.

         Except for periods of Government Service, Jesse Kearney has maintained a general

practice for the past 38 years, with an emphasis on Title VII law and general civil rights law.

         He served as Assistant Arkansas Attorney General October 1977 through January 1979.

In that position, he was Acting General Counsel for State Labor and Local Service Departments

and for the Arkansas State Police, and represented these agencies in all state and federal courts in

Arkansas and in the U.S. Supreme Court. He represented the state in criminal appeals to the

Court of Appeals of Arkansas, the Arkansas Supreme Court, and United States Supreme Court.

         Mr. Kearney served as Special Assistant to Governor Bill Clinton from January 1979

through January 1981, as Governor's liaisons to the State Labor Department, State Local

Government Services Department, Employment Security Department, and Federal Government

Programs.

         Mr. Kearney was the Arkansas State Claims Commissioner in 1981. This quasi-judicial

commission, composed of three commissioners, exercises subject matter jurisdiction over claims

against the State of Arkansas or its agents and departments, including injunctive and monetary

relief, for enforcement of property, contract, and civil rights against agents and officers of the

state.

         Mr. Kearney also served a term as Circuit Judge, 11th District, State of Arkansas, from

1989 to 1991. The Circuit Court is a general jurisdiction court, exercising full State and Federal

Constitutional, criminal, civil, and equitable jurisdiction. He also served as Magistrate in Probate

and Chancery Court, 11th District West, State of Arkansas, 1989 to 2000, except while a Circuit

Judge. He served as a Special County Judge, Jefferson County, State of Arkansas from 1992 to

2000.


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       He was actively involved in this case since its inception, representing the class as well as

Mr. Stephenson and other Track A and B claimants.

       IV.      DAVID FIERST2

       David Fierst is a partner in Stein, Mitchell, Muse, Cipollone & Beato, LLP. He graduated

from the University of Pennsylvania in 1972, and received his J.D. Degree from George

Washington University in 1975. He was admitted to the Bar of the District of Columbia in 1975,

and other courts at varying times after that.

       Mr. Fierst was employed by the Securities and Exchange Commission for one year, and

since then has been in private practice with his present firm.

       V.       THE LODESTAR FEE

       The Consent Decree in this class action as interpreted in the Opinion and Order of March

8, 2001 provided, among other things, that counsel for successful claimants were entitled to

attorneys’ fees and costs. The Court quoted the ECOA, which was incorporated into the consent

decree, as holding that “In the case of a successful action … the costs of the action, together with

a reasonable attorney’s fee as determined by the court, shall be added to any damages ….”

Opinion and Order at 7. Based on that, the Court ruled that the benefits of Paragraph 14 (a) of the

consent Decree, relating to attorney’s fees, extend “to those [Track A and B claims] where the

claims succeeded.” Opinion and Order at 8. Mr. Stephenson, as a successful Track B claimant, is

the prevailing party in this case, and his counsel, Cross Kearney, is entitled to recover attorneys’

fees and costs pursuant to the ECOA, paragraph 14 (a) of the Consent Decree, and this Court’s

Opinion and Order of March 8, 2001.

       Well established legal precedent further underscores the propriety of awarding fees to

Mr. Stephenson. See Farrar v. Hobby, 506 U.S. 103, 111 (1992) (“prevailing party” means that


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           See Declaration of David Fierst, attached as Exhibit B.

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the party obtained “at least some relief on the merits of [the] claim”); Texas State Teachers Ass’n

v. Garland Indep. Sch. Dist., 489 U.S. 782, 791-92 (1989) (a prevailing party is “one who has

succeeded on any significant claim, affording it some of the relief sought”); Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983) (a plaintiff who succeeds on “any significant issue in

litigation which achieves some of the benefit . . . sought in bringing suit” is a prevailing party).

By any measure, an award of $142,500 qualifies Mr. Stephenson as a prevailing party.

       Courts begin the calculation of attorneys’ fees by determining the hours reasonably

expended, and then multiplying that number by a reasonable hourly rate to determine the

lodestar. Hensley, 461 U.S. at 433; Board of Trustees of the Hotel and Restaurant Employees v.

JPR, Inc., 136 F.3d 794, 801 (D.C. Cir. 1998) (“The usual method of calculating reasonable

attorneys’ fees is to multiply the hours reasonably expended in the litigation by a reasonable

hourly fee, producing the ‘lodestar’ amount”); Blackman v. District of Columbia, 59 F.Supp.2d

37, 42 (D.D.C. 1999) (“In determining a reasonable attorneys’ fees award, the Court begins by

calculating ‘the number of hours reasonably expended on the litigation multiplied by a

reasonable hourly rate’ – the so-called ‘lodestar’ fee”) (citation omitted).

       This Court has already determined that Laffey rates based on the Laffey Matrix as

prepared by the Civil Division of the United States Attorneys’ Office for the District of

Columbia are applicable in this case and specifically to firms, such as Cross Kearney, based

outside the District of Columbia. In its March 8, 2001 Opinion and Order, at 14, this Court held:

                District of Columbia rates will apply to all Counsel requesting
        reimbursement under Paragraph 14(a) of the Consent Decree, even if such
        Counsel are not based in the District of Columbia. As the government
        acknowledges, the location of the court deciding the case is normally the relevant
        market for determining appropriate rates. See Donnell v. United States, 682 F.2d
        240, 251 (D.C. Cir. 1982), cert. denied, 459 U.S. 1204 (1983). As such, “some
        attorneys may receive fees based on rates higher than they normally command if
        those higher rates are the norm for the jurisdiction in which the suit was litigated.
        Id. At 251-52.


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       Jesse Kearney kept contemporaneous time records of his work on the Stephenson matter,

shown on Exhibit C. The Laffey rates in effect at the time services were rendered for the

applicable lawyers are shown on Exhibit D.

       The lodestar fee for work performed in the Stephenson arbitration by Cross Kearney for

each year3 from February, 1999 through December 2010 (completion of settlement matters) is:

Time                          Hours          Attorney       Laffey Rate    Lodestar

2/4/1999-5/31/1999            44.60          Kearney        $335/hour      $14,941

6/1/1999-5/31/2000            105.20         Kearney        $340/hour      $35,768

6/1/1999-5/31/2000            3.80           Paralegal      $90/hour       $342

6/1/2000-5/31/2001            277.704        Kearney        $350/hour      $97,195

6/1/2000-5/31/2001            1.10           Paralegal      $90/hour       $99

6/1/2001-5/31/2002            27.90          Kearney        $360/hour      $10,044

6/1/2002-5/31/2003            7.30           Kearney        $370           $2,701

6/1/2003-5/31/2004            0.50           Kearney        $380/hour      $190

6/1/2004-5/31/2005            0              N/A            N/A            $0

6/1/2005-5/31/2006            0.60           Kearney        $405/hour      $243

6/1/2006-5/31/2007            0              N/A            N/A            $0

6/1/2007-5/31/2008            10.60          Kearney        $440/hour      $4,664

6/1/2008-5/31/2009            0.80           Kearney        $465           $372

6/1/2009-5/31/2010            26.80          Kearney        $465           $12,462

6/1/2009-5/31/2010            8.00           Paralegal      $130/hour      $1,040

3
         The Laffey matrix runs from June 1 to May 31 each year.
4
         In accordance with this Court’s Opinion and Order dated March 8, 2001, the travel time
in this time period, and everywhere else where appropriate, was reduced by 50%. Travel time is
shown in full on Exhibit C, but half of it has been eliminated from the calculation of fees. In
addition, the contemporaneous records show a full 24 hours for each day Mr. Kearney traveled
out of Arkansas, and that has been reduced to a normal workday.

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6/1/2010-5/31/2011            77.35           Kearney        $475/hour       $36,741.25

6/1/2010-5/31/2011            34.00           Paralegal      $135/hour       $4,590

Subtotal:                                                                             $221,392.25

Exhibit C. This fee is based on contemporaneous Laffey rates multiplied by the hours expended.

This Court should award that entire amount to Cross Kearney.

       Cross Kearney also seeks fees incurred in seeking payment of fees and expenses,

including preparing and filing this motion. That is in accord with prevailing case law. “Cases in

this Circuit have routinely awarded reasonable fees incurred in requesting fees under fee-shifting

statutes such as the EAJA.” American Wrecking Corp. v. Sec’y of Labor, 364 F.3d 321, 331

(D.C. Cir. 2004) (internal citation and quotation marks omitted). See also Commissioner, I.N.S.

v. Jean, 496 U.S. 154 (1990); Bretford Mfg., Inc. v. Smith System Mfg. Co., 421 F.Supp.2d 1117,

1128 (N.D.Ill. 2006) (“we agree with Smith that an allowance of reasonable fees for presenting a

successful fee petition is the only way a fee applicant can be made whole”). The preparing and

filing of this motion entailed time and fees of $11,431, as shown on Exhibit E.

       Additional fees for this fee application were incurred by Stein, Mitchell, Muse, Cipollone

& Beato, LLP, in the amount of $19,600. This fee is based on actual rates ($500/hour) rather

than Laffey rates ($505/hour). Declaration of David U. Fierst, Exhibit B. This is in addition to the

amount set forth above.

       Fees incurred in seeking payment of fees and expenses are as follows:

6/1/2011-5/31/2012            0.20            Kearney        $495            $99

6/1/2011-5/31/2012            31.00           Paralegal      $140/hour       $4,340

6/1/2012-5/31/2013            13.40           Kearney        $505/hour       $6,767

6/1/2013-5/31/2014            4.50            Kearney        $505/hour       $225

6/1/2013-Present              39.20           Fierst         $500/hour       $19,600


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Subtotal                                                                     $31,031

       Cross Kearney reserves the right to supplement the fee application to account for fees to

be incurred in connection with this fee petition, including, for example, the cost of any reply to

an opposition to this motion.

       V.      COSTS AND EXPENSES

       The expenses incurred in the arbitration total $21,817.92. Exhibit F. They should be

awarded in conformity with the consent agreement and this Court’s Opinion and Order of March

8, 2001.


       VI.     CONCLUSION


       For the foregoing reasons, the Court should award to Cross Kearney fees and costs in the

total amount of $274,241.17.


                                              /s/ David U. Fierst
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